Case 2:21-cv-14223-JEM Document 4 Entered on FLSD Docket 06/01/2021 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                      CASE NO.: 21-CV-14223


 MAIKEL CASTILLO SANCHEZ,

        Plaintiff,

 vs.

 ABC PROFESSIONAL TREE
 SERVICES INC.,
 A Foreign Profit Corporation,

       Defendant.
 ____________________________/

                                  SUMMONS IN A CIVIL CASE
 TO:                           C T CORPORATION SYSTEM
                               C/O C T CORPORATION SYSTEM
                               1200 SOUTH PINE ISLAND ROAD
                               PLANTATION, FL 33324

                               REGISTERED AGENT FOR:
                               ABC PROFESSIONAL TREE SERVICES INC.

       YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S
                            ATTORNEY
                               Anthony M. Georges-Pierre, Esq.
                               REMER & GEORGES-PIERRE, PLLC
                               COURTHOUSE TOWER
                               44 West Flagler Street, Suite 2200
                               Miami, FL 33130

 an answer to the complaint which is herewith served upon you, within 21 days after service of this
 summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will
 be taken against you for the relief demanded in the complaint. You must also file your answer
 with the Clerk of this Court within a reasonable period of time after service.
 ____________________________                                ___________________
 CLERK                                                        Jun 1, 2021
                                                             DATE
 _______________________________________
 (BY) DEPUTY CLERK

                           s/ Ketly Pierre
